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Attorneys for Plaintiff,
Dallas Buyers Club, LLC.




                                UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                       PORTLAND DIVISION


DALLAS BUYERS CLUB, LLC                                Case No.: 3:15-cv-00907-AC

                  Plaintiff,
                                                       PLAINTIFF’S EX PARTE
       v.                                              APPLICATION FOR A BRIEF
                                                       EXTENSION OF THE DEADLINES
JOHN HUSZAR                                            SET FORTH IN THE SCHEDULING
                                                       ORDER OF MAY 8, 2019 (ECF # 163)
                  Defendant.




                                         LR. 7.1 CONFERAL

       Plaintiff’s counsel certifies he has conferred with counsel for the Defendant who

indicated Defendant will file an opposition to this ex parte application.


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                                    EX PARTE APPLICATION

       Pursuant to the Order of the Hon. Judge John V. Acosta (ECF No. 163), Plaintiff’s and

Defendant’s “supplemental pleadings updating their original arguments in light of the opinions

filed since original briefing was completed regarding their respective motions for summary

judgment” (“Supplemental Briefing”) are due on June 7, 2019 and the response “to any

additional arguments/briefing” (“Response Briefing”) is due by June 21, 2019. Plaintiff requests

a brief period of additional time (two weeks) to allow Plaintiff’s newly added counsel to review

voluminous case records and file its supplemental pleading. Thus, Plaintiff requests that the

Court make the following calendaring changes:

       1.         The deadline for all parties to file their Supplemental Briefing be continued from

June 7, 2019 to June 21, 2019; and

       2.         The deadline for all parties to file their Response Briefing be continued from June

21, 2019 to July 12, 2019.



                                 SUPPORTING MEMORANDUM

       Prior to the present counsel for Plaintiff being added to this case, Plaintiff and Defendant

had filed motions for summary judgment in this case. Plaintiff’s motion relied on certain

requests for admission that went without a response and thus, it was argued, Defendant had

essentially conceded all the basis for liability in this case. Defendant’s motion relied on various

arguments regarding the infringement detection technology at issue in the case and Plaintiff’s

proof of ownership of the work at issue.

       On March 3, 2019, the Honorable Judge John Acosta issued his Findings and

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Recommendation in which he held that Plaintiff’s motion should be granted and Defendant’s

motion should be denied. ECF #156. On that same day, Judge Acosta issued an Order referring

his Findings and Recommendation to the Honorable Judge Michael Simon. ECF #157.

        Just last month, however, on May 7, 2019, Judge Simon issued an Order declining to

adopt the Findings and Recommendations, holding that the requests for admission that were the

subject of the Plaintiff’s summary judgment motion had been served on the corporate entity that

had previously been the defendant in the case, but not on the current individual defendant, John

Huszar, and thus could not be used against Mr. Huszar. ECF #162. Thus, Judge Simon

remanded the case to Judge Acosta “for consideration on the merits of Plaintiff’s motion for

summary judgment and Defendant’s cross motion for summary judgment” without reference to

the requests for admission that had previously been deemed admitted. ECF #162. The next day,

on May 8, 2019, Judge Acosta issued an Order scheduling the Supplemental Briefing for June 7,

2019 and the Responding Briefing for June 21, 2019.

        On April 3, 2019, the Court allowed Wendy E. Lyon of Fox Rothschild LLP to be

substituted as counsel of record for Plaintiff in place of attorney Michael Atkins and Megan

Vaniman. At that time, attorney Lincoln Bandlow was also a partner at Fox Rothschild LLP in

Los Angeles and had been asked by Plaintiff to take over the handling of this action. Mr.

Bandlow intended to file an application for admission pro hac vice. At that time, however, what

was pending in this matter was simply the ruling on Judge Acosta’s Findings and

Recommendation that summary judgment be granted in Plaintiff’s favor as to liability. Thus,

since there was no particular action that needed to be taken, the application was not filed at the

time.

        On April 26, 2019, however, Mr. Bandlow left the Fox Rothschild law firm and started

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his own law firm, Law Offices of Lincoln Bandlow, P.C. From that time forward, in regard to

this case, discussions commenced regarding whether Mr. Bandlow would continue to represent

the Plaintiff in connection with this lawsuit and whether Ms. Lyon and Fox Rothschild would

continue to act as local counsel. As those discussions were taking place, on May 8, 2019, Judge

Acosta issued his Order. It was only within the last few days, however, that Plaintiff has been

able to put into place the deal that allows Mr. Bandlow to continue to work on this matter and

Ms. Lyon to remain local counsel in the matter. Moreover, it was not until today that Mr.

Bandlow received from Fox Rothschild the electronic files that pertain to this matter (this delay

was through no fault of Fox Rothschild but simply a product of there being a large number of

files that had to be transferred to Mr. Bandlow upon his departure from the firm).

          Accordingly, Plaintiff’s counsel reached out to counsel for Defendant to seek a short two-

week extension of the Supplemental Briefing and Response Briefing deadlines to allow counsel

for Plaintiff to review the voluminous filings done in support of the competing summary

judgment motions in the case.1 In addition, because of the recent development from May 7,

2019 of the Court rejecting the Findings and Recommendation and the Order requiring

supplemental briefing, counsel for Plaintiff also broached the subject of resolving the case

without the need for further litigation. Defendant’s counsel stated that they would oppose any

request for an extension, citing purported slights from prior counsel and the length of time the

case has been pending, but did not provide any particular purported prejudice that would come


1
  Defendant’s counsel may assert that such pleadings should have been extensively reviewed
back in April when new counsel took over the case. But such review at that time would have
made no sense: at that time, it appeared summary judgment would be granted in Plaintiff’s favor
based on the Findings and Recommendation of Judge Acosta. It was not until only recently on
May 7, 2019, when such Findings and Recommendation were not adopted, requiring a
reevaluation of those pleadings.
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from this brief extension. It did appear from counsel for Defendant, however, that there may be

some interest in conducting further settlement discussions.

       Plaintiff respectfully requests that the Court grant this short extension that Defendant

rejected. Under the Federal Rules of Civil Procedure, the Court may extend the deadlines for the

supplemental summary judgment briefing “for good cause.” Fed.R.Civ.P. 6(b)(1); Ahanchian v.

Xenon Pictures, Inc., 624 F.3d 1253 (9th Cir. 2010). This rule is to be “liberally construed.”

Ahanchian, 624 F.3d at 1259; Rogers v. Watt, 722 F.2d 456, 459 (9th Cir. 1983); Staren v.

American Nat’l Bank & Trust Co. of Chicago, 529 F.2d 1257, 1263. See also Fed.R.Civ.P. 1

(the Federal Rules “should be construed and administered to secure the just, speedy, and

inexpensive determination of every action and proceeding”). Thus, “requests for extensions of

time made before the applicable deadline has passed should ‘normally … be granted in the

absence of bad faith on the part of the party seeking relief or prejudice to the adverse party.’”

Anhanchian, supra (quoting 4B Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 1165 (3d ed. 2004). Finally, “good cause” is “a non-rigorous standard that has been

construed broadly across procedural and statutory contexts.” Anhanchian, supra.

       Here, there is good cause to allow this brief extension and there would be no prejudice to

Defendant. Counsel for Plaintiff is new to the case, had timing issues due to a transition between

firms, and otherwise requires additional time in this matter to not only make sure that the Court

is provided with the information it needs to fairly adjudicate the case, but to see if further

settlement discussions could lead to the early resolution of the case. None of this would

prejudice the Defendant, indeed, it might be to the benefit of the Defendant to the extent the

Defendant is interested in an earlier, rather than a prolonged, resolution of this matter.

       Accordingly, Plaintiff respectfully requests that the Court make the following calendaring

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changes:

          1.         The deadline for all parties to file their Supplemental Briefing be continued from

June 7, 2019 to June 21, 2019; and

          2.         The deadline for all parties to file their Response Briefing be continued from June

21, 2019 to July 12, 2019.2



            June 6, 2019
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2
  Although only a two-week extension is requested for the deadline to file the Supplemental
Briefing, Plaintiff requests a three-week extension for the deadline to file the Response Briefing
simply because two weeks from June 21 would fall on July 5, 2019, a date on which one can
assume the Court and the parties will be rightfully occupied with enjoying with their families the
Fourth of July holiday, and thus it would be best to push that date one week further (making a
total extension of three weeks) to July 12, 2019.
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